         Case 1:18-cv-01395-EHM Document 65 Filed 02/03/21 Page 1 of 1




           In the United States Court of Federal Claims
                                          No. 18-1395 C
                                      Filed: February 3, 2021

 ________________________________________
                                          )
 FOX LOGISTICS & CONSTRUCTION             )
 COMPANY,                                 )
                                          )
                      Plaintiff,          )
                                          )
   v.                                     )
                                          )
 THE UNITED STATES,                       )
                                          )
                      Defendant.          )
 ________________________________________ )


                                     SCHEDULING ORDER

       Remote oral argument on Defendant’s renewed Motion to Dismiss (ECF No. 53) is scheduled

for February 22, 2021, at 11:00 a.m. EST via videoconference. Instructions regarding participation

in the videoconference will be forwarded to the parties by the Court.


       IT IS SO ORDERED.

                                                                s/ Edward H. Meyers
                                                                Edward H. Meyers
                                                                Judge
